  Case 1:24-mj-00885-KJM Document 15 Filed 10/04/24 Page 1 of 2 PageID.47
                                                                           FILED IN THE
                                                                  UNITED STATES DISTRICT COURT
                                                                       DISTRICT OF HAWAII

CLARE E. CONNORS #7936                                                  Oct 04, 2024
                                                                    Lucy H. Carrillo, Clerk of Court
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UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                    MAG. NO. 24-885 KJM

                  Plaintiff,                 ORDER GRANTING UNITED
     vs.                                     STATES’ MOTION TO DISMISS
                                             COMPLAINT WITHOUT
                                             PREJUDICE
ROBERT FRANCIS DUMARAN,

                  Defendant.


          ORDER GRANTING UNITED STATES’ MOTION TO
       DISMISS CRIMINAL COMPLAINT WITHOUT PREJUDICE

      Upon consideration of the United States’ “Motion to Dismiss Criminal

Complaint Without Prejudice,” ECF No. 14, the Court grants the requested leave to

dismiss the Criminal Complaint in this case, ECF No. 1, pursuant to Federal Rule of
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Criminal Procedure 48(a). The Court finds that the Motion is made in good faith

and that dismissal without prejudice is not clearly contrary to the public interest. See

United States v. Wallace, 848 F.2d 1464, 1468 (9th Cir. 1988). The Court, therefore,

GRANTS the government’s Motion, dismissing the Complaint without prejudice.

       IT IS SO ORDERED.

                       4 2024, at Honolulu, Hawaii.
       DATED: October ___,




                                                         Kenneth J. .t fansfleld
                                                          nited Sta1es Magistrate Judge




UNITED STATES v. ROBERT FRANCIS DUMARAN
Mag. No. 24-885 KJM
“Order Granting United States’ Motion to Dismiss Criminal Complaint Without Prejudice”

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